Case 2:03-cr-20409-BBD Document 71 Filed 06/27/05 Page 1 of 2 Page|D 75

 

IN THE UNITED STATES DISTRICT COURT

 

 

FOR THE WESTERN DISTRICT OF TENNESSEE 05 J,`}H 27 ad mt l 5
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UNITED STATES OF AMERICA l win or- n\-, estimates
vi 2:03cr20409-1)

LEON JACKSON

 

ORDER REVOKING BOND

 

This cause came on to be heard on JUNE 24, 2005 on the motion of the United States to revoke defendant's bond.
After hearing the proof presented and argument of counsel, the Court, pursuant to 18 U.S.C. § 3148:

(l) finds that there is _

[ ] Probable cause to believe that the person has committed a Federal, State, or local crime while on
release; and/or

[ ] Clear and convincing evidence that the person has violated any other condition of
release; and

(2) finds that there is g

[ ] Based on the factors set forth in section 3142(g) of this title, there is no condition
or combination of conditions of release that will assure that the person will not flee or pose a
danger to the safety or any other person or the community; and/or

[ ] The person is unlikely to abide by any condition or combination of conditions of release.

(3) The defendant makes no application for release at this time. A motion for conditions of release
and a detention hearing may be filed at a later date.

Based on these findings, it is hereby ordered that defendant's bond is REVOKED.
DIRECTIONS REGARDING DETENTION

LEON JACKSON is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal. LEON JACKSON shall be afforded a reasonable opportunity
for private consultation with defense counsel. On order of a Court of the United States or on request of an attorney
for the government, the person in charge of the corrections facility shall deliver the Defendant to the United States
marshal for the purpose of an appearance in connection with a Court proceeding

]T IS SO ORDERED THIS 24TH DAY oF JUNE,

  

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:03-CR-20409 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable Bernice Donald
US DISTRICT COURT

